     Case: 1:19-cv-01610 Document #: 364 Filed: 09/30/22 Page 1 of 8 PageID #:23240




                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 CHRISTOPHER MOEHRL, MICHAEL                          )
 COLE, STEVE DARNELL, VALERIE                         )
 NAGER, JACK RAMEY, DANIEL UMPA,                      )
 And JANE RUH, on behalf of themselves and            )
 all others similarly situated                        )
                                                      )
          Plaintiffs,                                 )   Case No. 1:19-cv-01610
                                                      )
 v.                                                   )
                                                      )   Judge Andrea R. Wood
 THE NATIONAL ASSOCIATION OF                          )
 REALTORS, REALOGY HOLDINGS                           )
 CORP., HOMESERVICES OF AMERICA,                      )
 INC., BHH AFFILIATES, LLC, HSF                       )
 AFFILIATES, LLC, THE LONG & FOSTER                   )
 COMPANIES, INC., RE/MAX LLC,                         )
 and KELLER WILLIAMS REALTY,                          )
 INC.                                                 )
                                                      )
          Defendants.                                 )
                                                      )

         MOTION FOR LIMITED EXTENSION OF FACT DISCOVERY DEADLINE TO
                 ACCOMMODATE ALREADY-SERVED SUBPOENAS

         Defendants respectfully move the Court for a modest extension of the October 6, 2022

fact discovery deadline to allow for production of documents and data and possible enforcement

actions with respect to already-served third-party subpoenas. Defendants also ask for a limited

extension of the deposition deadlines for these subpoenas to accommodate the document and

data productions. No other deadlines would be affected by this modest extension, and Plaintiffs

would suffer no prejudice.

I.       BACKGROUND

         Under the current schedule, fact discovery is set to close on October 6, 2022, although the

parties and the Court have already agreed that certain fact depositions of both parties and non-



                                                  1
    Case: 1:19-cv-01610 Document #: 364 Filed: 09/30/22 Page 2 of 8 PageID #:23241




parties will occur after that date. Consistent with these timelines, the parties have been diligently

working together to schedule and complete outstanding discovery activities, including

depositions and document productions. In the last two weeks alone, there have been fourteen

(14) depositions, with multiple depositions occurring on the same day. Over the next several

weeks, there are six depositions currently scheduled and additional depositions contemplated for

which dates have not yet been set, including 30(b)(6) depositions and third-party depositions.

        To accommodate completion of deposition discovery, the current schedule required the

parties to provide notice of any non-party depositions and subpoenas by September 28, 2022.

Dkt. 350 at 2 (“The parties . . . will provide notice of all remaining third[-]party depositions by

September 28th[.]”). Consistent with this schedule, both Plaintiffs and Defendants provided

notice and served multiple third-party subpoenas on September 27 and 28.1 Some of Defendants’

subpoenas included requests for both depositions and documents/data pursuant to F.R.C.P.

45(a)(1)(C); two subpoenas sought only documents or data pursuant to F.R.C.P. 45(a)(1)(D).

Defendants have been in contact with all of the recipients except one, and Defendants do not

anticipate any issues with enforcement.

        On September 29, Plaintiffs sent an email to Defendants objecting to the subpoenas

served by Defendants, but only to the extent they seek the production of documents. Plaintiffs

took the position that document discovery must be completed by the October 6 deadline for fact

discovery, even though deposition discovery will continue and even though most of these



1
 Plaintiffs noticed and served the following non-party deposition subpoenas this week: Jeremy Pharr, Wendy
DiVecchio, Greater Las Vegas Association of Realtors, Stefan Swanepoel, T360, Tom Ferry, Ferry International,
LLC, OneKey MLS, The Real Estate Board of New York, Brooklyn MLS.

Similarly, Defendants noticed and served the following non-party subpoenas this week: Bright MLS, Inc. (deposition
only), Stellar MLS (deposition only), Northstar MLS (deposition only), Triangle MLS (deposition only), Brooklyn
MLS (deposition and documents/data), OneKey MLS (deposition and documents/data), The Real Estate Board of New
York (deposition and documents/data), REX (data only) and West Penn Multi-List (data only).


                                                        2
      Case: 1:19-cv-01610 Document #: 364 Filed: 09/30/22 Page 3 of 8 PageID #:23242




document requests were served in connection with timely-noticed non-party depositions.

Plaintiffs do not object to the attendant depositions.

          Defendants conferred with counsel for Plaintiffs on this issue on September 30, 2022, at

which Plaintiffs were represented by Robby Braun of Cohen Milstein. This dispute was the sole

topic at the September 30 meet and confer, and Defendants and Plaintiffs were unable to resolve

this dispute without Court intervention.

          After that meet and confer and after the September 28 deadline, Plaintiffs served two

“revised” deposition notices and four new “counter-notices.”

II.       LEGAL STANDARD

          Under the Federal Rules of Civil Procedure, a schedule may be modified “for good cause

and with the judge’s consent.” Fed. R. Civ. P. 16(b)(4). The “good cause” standard “primarily

considers the diligence of the party seeking amendment.” Trustmark Ins. Co. v. General &

Cologna Life Re of America, 424 F.3d 542, 553 (7th Cir. 2005) (cleaned up; citation omitted).

This Court has “extraordinary discretion in managing discovery . . . .” Yost v. Carroll, No. 20 C

5393, 2022 U.S. Dist. LEXIS 56627, at *2 (N.D. Ill. Mar. 29, 2022). In exercising this discretion,

the Court should be mindful that, “in all cases . . . who is on the ‘right’ side of the issues cannot

be determined without appropriate discovery . . . .” Id. at *3. “And that requires that each side be

given an appropriate amount of time to conduct relevant and proportional discovery.” Id.

(granting defendant’s request for an additional 45 days to complete fact discovery).

III.      ARGUMENT

          Defendants have good cause for a modest extension of the current discovery deadline to

allow for document production and potential enforcement of the subpoenas duces tecum that

have already been noticed and served. Defendants have been working diligently to complete




                                                  3
  Case: 1:19-cv-01610 Document #: 364 Filed: 09/30/22 Page 4 of 8 PageID #:23243




discovery; certain of the non-parties at issue were just identified as part of Plaintiffs’

supplemental expert reports; and a modest extension of the fact-discovery cutoff is appropriate.

       First, Defendants have been diligent in their efforts to complete fact discovery. For the

past two weeks, depositions have been occurring almost every day, sometimes on multiple

tracks—14 have been completed in the last 2 weeks, and more than 25 additional depositions are

either scheduled or will be scheduled over the next several weeks.

       Defendants did not intentionally delay the sending of the subpoenas duces tecum at

issue—most are to parties whose potential relevance only came to light in the last few weeks

after Plaintiffs served their expert rebuttal reports. For example, three of the subpoenas are to

non-party MLSs in New York, two of which were mentioned in the rebuttal report filed by

Plaintiffs’ expert, Professor Elhauge, which was served on August 22. Professor Elhauge

asserted in his report that the Brooklyn MLS might be an appropriate benchmark because he

claims it does not have a rule like the Cooperative Compensation Rule at issue in this case.

Elhauge Rebuttal Rep. ¶ 76. As a factual matter, Defendants believe that Professor Elhauge is

incorrect and that the Brooklyn MLS does have an analogous rule. The served subpoena seeks

copies of the Brooklyn MLS rules and data regarding cooperative compensation offers in that

MLS to respond to Professor Elhauge’s new assertions. As another example, Professor Elhauge

criticized Defendants’ expert’s use of only Keller Williams and Realogy data for her analysis for

certain MLSs. Id. ¶¶ 63, 75. Two non-party subpoenas at issue seek additional data to directly

respond to Professor Elhauge’s critique.

       Second, Defendants believe the subpoenas are consistent with the spirit of the current

Scheduling Order. That order required the parties to provide notice of third-party depositions by

September 28, 2022. Dkt. No. 350-2. The order does not distinguish between non-party




                                                   4
    Case: 1:19-cv-01610 Document #: 364 Filed: 09/30/22 Page 5 of 8 PageID #:23244




deposition subpoenas or subpoenas duces tecum served in connection with such depositions. Nor

did it purport to exclude combined deposition and document subpoenas that are expressly

permitted by Rule 45. Defendants provided notice and served their subpoenas by September 28,

and those subpoenas require production prior to the October 27 timeframe during which the

parties told the Court they anticipate completing most of the remaining depositions.2 Id.

Nonetheless, Plaintiffs contend there is a distinction between deposition subpoenas and

subpoenas duces tecum, which led to the filing of this motion.

        Finally, there is no prejudice to Plaintiffs from the modest requested extension. The

extension is limited and contemporaneous with the completion of other depositions agreed to by

Plaintiffs and the Court that will occur into at least November 2022. The extension will not

impact any other case deadlines. Indeed, there is no schedule yet in place for merit expert

disclosure or discovery, summary judgment, or trial.

IV.     CONCLUSION

        For the foregoing reasons, Defendants respectfully ask the Court to enlarge the current

fact-discovery deadline to allow for document and data production, deposition, and potential

enforcement actions with respect to the non-party subpoenas that were noticed on or before

September 28, 2022.




2
 Defendants could have issued these subpoenas with return dates of October 6—counsel has been in contact with all
of the recipients except for one, and Defendants do not expect there to be any enforcement issues. But given that
depositions are continuing throughout October, Defendants chose the slightly longer return dates to give the non-
parties additional time to respond and to coincide with the deposition schedule.


                                                       5
      Case: 1:19-cv-01610 Document #: 364 Filed: 09/30/22 Page 6 of 8 PageID #:23245



Dated: September 30, 2022                    Respectfully submitted,


Counsel for HomeServices of America, Inc.,   Counsel for Keller Williams Realty, Inc.
BHH Affiliates, LLC, HSF Affiliates, LLC,
The Long & Foster Companies, Inc.            /s/ Timothy Ray
                                             Timothy Ray
/s/ Robert D. MacGill                        timothy.ray@hklaw.com
Robert D. MacGill                            HOLLAND & KNIGHT LLP
robert.macgill@macgilllaw.com                150 North Riverside Plaza, Suite 2700
Scott E. Murray                              Chicago, IL 60606
scott.murray@macgilllaw.com                  (312) 263-3600
Matthew T. Ciulla
matthew.ciulla@macgilllaw.com                David C. Kully, pro hac vice
MACGILL PC                                   david.kully@hklaw.com
156 E. Market St. Suite 1200                 Anna P. Hayes, pro hac vice
Indianapolis, IN 46204                       anna.hayes@hklaw.com
(317) 961-5085                               HOLLAND & KNIGHT LLP
                                             800 17th Street NW, Suite 1100
Jay N. Varon                                 Washington, DC 20530
jvaron@foley.com                             (202) 469-5415
Jennifer M. Keas
jkeas@foley.com                              Jennifer Lada, pro hac vice
FOLEY & LARDNER LLP                          jennifer.lada@hklaw.com
3000 K Street NW                             HOLLAND & KNIGHT LLP
Washington, DC 20007                         31 West 52nd Street
(202) 672-5436                               12th Floor
                                             New York, NY 10019
James D. Dasso                               (202) 513-3513
jdasso@foley.com                             Counsel for Realogy Holdings Corp.
FOLEY & LARDNER LLP
321 N. Clark St., Suite 2800                 /s/ Kenneth M. Kliebard
Chicago, IL 60654                            Kenneth M. Kliebard
(312) 832-4588                               kenneth.kliebard@morganlewis.com
                                             Heather J. Nelson
Counsel for National Association of          Heather.nelson@morganlewis.com
REALTORS®                                    MORGAN, LEWIS & BOCKIUS, LLP
/s/ Jack R. Bierig                           110 North Wacker Drive
Jack R. Bierig                               Chicago, IL 60606-1511
Robert J. Wierenga                           (312) 324-1000
Suzanne Wahl
ArentFox Schiff LLP                          Stacey Anne Mahoney
233 South Wacker Drive                       stacey.mahoney@morganlewis.com
Suite 7100                                   MORGAN, LEWIS & BOCKIUS, LLP
Chicago, IL 60606                            101 Park Avenue
(312) 258-5500                               New York, NY 10178
jack.bierig@afslaw.com                       (212) 309-6000



                                                6
      Case: 1:19-cv-01610 Document #: 364 Filed: 09/30/22 Page 7 of 8 PageID #:23246




robert.wierenga@afslaw.com               William T. McEnroe
suzanne.wahl@afslaw.com                  William.mcenroe@morganlewis.com
                                         MORGAN, LEWIS & BOCKIUS, LLP
Ethan Glass                              1701 Market Street
Cooley LLP                               Philadelphia, PA 19103
1299 Pennsylvania Avenue, Suite 700      (215) 963-5000
Washington, DC 20004
eglass@cooley.com
202-776-2244

Counsel for RE/MAX, LLC

/s/ Eddie Hasdoo
Eddie Hasdoo
ehasdoo@jonesday.com
JONES DAY
77 W. Wacker, Suite 3500
Chicago, IL 60601
(312) 782-3939

Jeffrey A. LeVee
jlevee@jonesday.com
Eric P. Enson
epenson@jonesday.com
JONES DAY
555 S. Flower Street, 50th Floor
Los Angeles, CA 90071
(213) 243-2572




                                            7
  Case: 1:19-cv-01610 Document #: 364 Filed: 09/30/22 Page 8 of 8 PageID #:23247




                                   CERTIFICATE OF SERVICE

       I, Robert D. MacGill, an attorney, hereby certify that on September 30, 2022, I caused the

foregoing document to be served electronically on all parties of record via this Court’s CM/ECF

system.



                                        /s/ Robert D. MacGill
                                            Robert D. MacGill




                                               8
